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FILED

DAVID L. ANDERSON (CABN 149604) JAN 2 pe
United States Attorney U6 202 I

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN J “ei
UNITED STATES OF AMERICA, A. C 00 0 4.

VIOLATIONS:
18 U.S.C. § 1343 — Wire Fraud;
18 U.S.C. § 152(1) — Concealment of Assets;

Plaintiff,
v.
AMANDA CHRISTINE RILEY, Forfeiture Allegation

Defendant. SAN JOSE VENUE

 

 

 

INFORMATION

The United States Attorney charges:
COUNT ONE: (18 U.S.C. § 1343 — Wire Fraud)

Beginning in or about October 2012 and continuing through on or about January 3, 2019, in the
Northern District of California and elsewhere, the defendant,

AMANDA CHRISTINE RILEY,

knowingly and with the intent to defraud participated in, devised, and intended to devise a scheme and
artifice to defraud as to a material matter, and to obtain money and property by means of materially false
and fraudulent pretenses, representations, and promises, and by means of omission and concealment of
material facts; specifically, the defendant claimed to have Hodgkin’s lymphoma, a type of cancer, and
solicited donations to help pay for her claimed medical expenses, when in truth, as the defendant knew,

she did not have Hodgkin’s lymphoma and had not been diagnosed with or treated for Hodgkin’s

INFORMATION

18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 7461 .

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lymphoma or any other type of cancer.

On or about January 14, 2016, in the Northern District of California and elsewhere, for the

purpose of executing the aforementioned scheme and artifice to defraud, the defendant,
AMANDA CHRISTINE RILEY,

knowingly transmitted and caused to be transmitted in interstate and foreign commerce, by means of a
wire communication, certain writings, signs, signals, pictures, and sounds; specifically, $1,173.41
transmitted via Stripe, Inc., in San Francisco, California, to the defendant’s USAA bank account in San
Antonio, Texas.

All in violation of Title 18, United States Code, Section 1343.
COUNT TWO: (18 U.S.C. § 152(1)- Concealment of Assets)

From on or about November 19, 2013, to on or about January 3, 2019, in the Northern District of

California, the defendant,

AMANDA CHRISTINE RILEY,
knowingly and fraudulently concealed from the trustee charged with control of the debtor’s property and
from the creditors and the United States Trustee in In re Cory Patrick Riley and Amanda Christine Riley,
Bankruptcy Case No. 13-56039 SLJ, property belonging to the debtor’s estate; specifically,
approximately $106,272.43 in income earned through the defendant’s false and fraudulent claims that
she had Hodgkin’s lymphoma.

All in violation of Title 18, United States Code, Section 152.

FORFEITURE ALLEGATION: (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

The allegations contained in this Information are re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title
28, United States Code, Section 2461(c).

Upon conviction for any of the offenses set forth in this Information, the defendant,

AMANDA CHRISTINE RILEY,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and
Title 28, United States Code, Section 2461(c), all property, real or personal, constituting, or derived

from proceeds the defendant obtained directly and indirectly, as the result of those violations.

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If any of the property described above, as a result of any act or omission of the defendant:

a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

d. _ has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty, |

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code,
Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

DATED: January 6, 2021 DAVID L. ANDERSON.
United States Attorney

Cell Quneon

SCOTT SIMEON
Assistant United States Attorney

INFORMATION | 3

 
 

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AO 257 (Rev. 6/78)

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

 

 

 

 

 

 

BY: U COMPLAINT INFORMATION U INDICTMENT Name of District Court, and/or Judge/Magistrate Location
N DISTRICT OF CALIFORNIA
____ OFFENSE CHARGED L_] sUPERSEDING NORTHERN DIS
SAN JOSE DI
COUNT ONE: 18 U.S.C. § 1343 - Wire Fraud [_] Petty FOLED
COUNT TWO: 18 U.S.C. § 152(1) - Concealment of Assets [_] Minor DEFENDANT - U.S JAN )
Misde- 0 6 202]
LI meanor AMANDA CHRISTINERILEY 4,
US, DISTRICT
F.
ane DISTRICT COURT NUMBER THEW DISTRICT OF CALIFORNIA ARE

   

PENALTY: Count 1: Max Prison Term: 20 Years; Max Sup Release Term: 3
Years; Max Fine: $250,000 or twice the gross gain or gross loss,
whichever greater; Sp. Assess: $100; Count 2: Max Prison Term: 5

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Years; Max Sup Release Term: 3 Years; Max Fine: $250,000 or twice

the gross gain or gross loss, whichever greater; Sp. Assess: $100
J DEFENDANT —__ SVK

 

 

 

PROCEEDING §———__ IS NOTIN CUSTODY
‘ a Has not been arrested, pending outcome this proceeding.
Name of Complaintant Agency, or Person (& Title, if any) 1) Oo If not detained give date any prior

5 summons was served on above charges
IRS Special Agent Arlette Lee 2

 

person is awaiting trial in another Federal or State Court, 2) [] Is a Fugitive
L give name of court

3) Is on Bail or Release from (show District)

NDCA

 

Ol this person/proceeding is transferred from another district

per (circle one) FRCrp 20, 21, or 40. Show District
IS IN CUSTODY

4) [|] On this charge

 

this is a reprosecution of
charges previously dismissed

L which were dismissed on motion } [_] Federal C] State
of DOCKET NO.
: 6) [[] Awaiting trial on other charges
LE] DEFENSE

On another conviction
SHOW 3) U

U.S. ATTORNEY z se yag pe
U If answer to (6) is "Yes", show name of institution

 

 

 

 

 

 

 

 

 

 

this prosecution relates to a J If"Yes"
[_] pending case involving this same Has detainer L_] Yes } give date
defendant MAGISTRATE been filed? [J No filed
CASE NO.
: ; DATE OF Month/Day/Year
prior proceedings or appearance(s) ARREST »
before U.S. Magistrate regarding this
CR 20-71012- MAG
defendant were recorded under a Or... if Arresting Agency & Warrant were not
Name and Office of Person DATE TRANSFERRED Month/Day/Year
Furnishing Information on this form DAVID L. ANDERSON TO U.S. CUSTODY
[x] U.S. Attorney [] Other U.S. Agency
Name of Assistant U.S. C] This report amends AO 257 previously submitted
Attorney (if assigned) AUSA Scott Simeon

 

 

ADDITIONAL INFORMATION OR COMMENTS

 

PROCESS:
[_] SUMMONS NO PROCESS* [_] WARRANT Bail Amount:

If Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Date/Time: Before Judge:

 

Comments:
